      Case 1:21-cv-00881-AJT-MSN Document 9 Filed 09/07/21 Page 1 of 2 PageID# 32
                                                                                                                       FILFD
                                                                                                                 MAILROOM
AO 440(Rev. 06/12) Summons in a Civil Action


                                     United States District Court                                             StP - T ?0?l
                                                                    for the
                                                                                                       CLERK. U.S. D'STRiCT COURT
                                                       Eastern District of Virginia                       ALEXANDRIA. V\hOm\A



                     Emeterio G. Roa




                           Plainliff(s)
                                V.                                            Civil Action No. (~^i
                  State Farm Bank, F.S.B.




                          Defendant(s)

                                                   SUMMONS IN A CIVIL ACTION

To:(Defendant's name and address) State Farm Bank, F.S.B.
                                          One State Farm Plaza, E-6
                                          Bloomington IL 61710




          A lawsuit has been filed against you.

         Within 21 days after service ofthis summons on you(not counting the day you received it) — or 60 days if you
are the United States or a United States agency,or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12(a)(2)or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:               Emeterio G. Roa 111
                                          201 South Irving Street
                                          Arlington VA 22204




         If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF CjOURT


Date:       7           A/
                                                                                                  rk or Deputy Clerk
      Case 1:21-cv-00881-AJT-MSN Document 9 Filed 09/07/21 Page 2 of 2 PageID# 33
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Civil Action No.


                                                          PROOF OF SERVICE
                    (This section should not befiled with the court unless required by Fed, R, Civ. P. 4(I))
                                                                                  State Farm Bank, F.S.B.
          This summons for (name ofindividual and title, ifany/                   One State Farm Plaza, E-6
                                                                                 •BtoormirrgtorrftretTtO
 was received by me on (date)            8/11/2021

          □ I personally served the summons on the individual at (place}
                                                                               on (date)                             ;or


          O I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
           on (date)                              , and mailed arcopy to the individual's last known address; or

                                                                                                                             . who is
          Xi served the summons on (name of individual)              Sally Qlsen- Law Department Employee
           designated by law to accept service of process on behalf of (name oforganization)
              State Farm Bank, F.S.B.                                          on (date)     8/16/2021 at 9:20 A M; or


           □ [ returned the summons unexecuted because                                                                            ;or


           □ Other (.specify):




           My fees are $                          for travel and S                  for services, for a total of $         o.OO


           1 declare under penalty' of perjury that this information is true.



 Date:         8/25/2021
                                                                                           Server's signature

                                                                         Steven Pecharich
                                                                                       Printed name and title



                                                                              1701 E Empire St, Suite 360-306
                                                                              Bloomington, IL 61704
                                                                              800-637-1805
                                                                                           Server's address


 Additional information regarding attempted service, etc:

Documents:
Summons in a Civil Action, Complaint for a Civil Case, Exhiblt(s)

Description:
45 year old Hispanic Female, Black hair, 57,150lbs                                               f   ^
